
INGRAHAM, J.
—This ivas a special proceeding commenced under section 2419 of the Code of Civil Procedure for a voluntary dissolution of the Murray Hill Bank. A petition for such voluntary dissolution was presented to the court on the 28th day of August, 1896, and an order was then granted requiring the attorney general to show cause on the 1st day of September why an order should not be made as provided for by section 2423 of the Code, and why a • temporary receiver of the property of the corporation should not be appointed. Due service of a copy of the order to show cause, with the petition and schedules, was admitted by the attorney general, who appeared upon the return day of the order to snow cause in opposition to the motion. An affidavit was presented on behalf of the attorney general by the superintendent of banks and his deputy, from which it appeared that in pursuance of section II of the banking act the superintendent of banks took possession of the Murray Hill Bank and its property and business on the 11th day of August, 1896, and that he still retains possession of the same. Upon the return day of such order the court granted the motion, appointed a referee, before whom all persons interested ivere required to show cause why the corporation, the Murray Hill Bank, should not be dissolved, appointed two receivers of the property, assets, and effects of the corporation, directed the said receivers to take possession of the property of the bank, collect and receive the debts, demands, and other property of the corporation, to preserve the same and the proceeds thereof, and to collect and receive all demands owing to said bank, with full power to maintain any action, suit, or special proceeding for either or all of said purEoses without further leave, and enjoin the creditors and stockolders of said corporation from instituting or prosecuting any action or proceeding against the corporation. From this order the attorney general has appealed.
The right of thea attorney general to appeal from such an order without being' made a party to the proceeding is conceded by counsel for the respondents; and, while the question is not free from doubt, it being somewhat difficult to see how a substantial right of the people is affected by the court’s administering the property of this insolvent corporation in a proceeding for a voluntary dissolution of the corporation rather than in an action brought by the attorney general in the name of the people to accomplish the same purpose, we will assume that the order is appealable. The attorney general presents two grounds for a reversal of this order. The first is that the *1286petition and schedules on which the order to show cause why the corporation should not be dissolved and a temporary receiver thereof appointed were insufficient to confer jurisdiction upon the court, upon the ground that a full list of the creditors of the corporation was not presented to the court, as required by section 2421 of the Code. The petition stated that annexed thereto is a schedule containing the name and place of residence of each creditor and of each person with whom such an engagement was made, and to whom it is to be performed, if known, or, if either is not known, a statement of that fact, as far as the petitioners know or have the means of knowing the same, in view of the facts that the books of the corporation are not at present in their possession or under their control, but are in the possession of the state superintendent of banks. And the schedule annexed to the petition states that it is a full and true account of all the creditors of the corporation and all unsatisfied engagements, with the name and place of residence of each creditor, and of each person with whom such an engagement was made, and to whom it was to be performed, if known, or, if either was not known, a statement of that fact, with a statement of the sum owing to each creditor, or other person specified, and the nature of each debt, demand, or other engagement; and at the end of such-schedule there is a statement as follows : “ A number of other depositors whose names are unknown to petitioners; the aggregate claims of all depositors named and not named amounting to about $1,031,000,” We think that this was sufficient to give the court jurisdiction. Section 2421 of the Code provides : “ A schedule must be annexed to the petition, containing the following matters, as far as the petitioner or petitioners-know, or have the means of knowing the same.” There is nothing to show that this schedule did not contain the name and place of residence of each creditor so far as the petitioners knew or had the means of knowing the same. On the contrary, the petitioners expressly state that such schedule does comply with this provision. In Re Santa Eulalia Silver Min. Co. (Sup.), 4 N. Y. Supp. 174, it was held that, if a technical and accidental omission in the schedules of some item of property, or some other omission to comply with the section of the Code, does not show a lack of good faith on the part of the petitioner, or afford evidence of any fraudulent purpose, or any attempt to impose upon the court, the objection does not go to the jurisdiction of the court, and may be obviated by evidence. That case was affirmed by the court of appeals upon this opinion. See 115 N. Y. 657, 23 S. R. 1000. We think this decision disposes of this objection
The attorney general also claims that the directors were not authorized to apply for a voluntary dissolution, as the fact that the superintendent of banks, in taking possession of the bank’s property and business under section 17 of the banking law, took from the directors the property of the bank, so that *1287they were no longer in the management of the concerns of the corporation. The mere possession of the property and business of the bank, however, by the superintendent, under this provision of the statute, did not divest the trustees or directors of the management of the concerns of the corporation, except so far as was necessary to preserve the property of the corporation pending an application to the court to appoint a receiver. The directors were still the responsible officers of the bank, liable for the faithful performance of their duties as such directors, and the only ones who could act for the corporation. Nothing in the act itself or any provision of law divested them of their office, or removed them from the position held by them. They were still the directors of the bank, and as such had the management of the concerns of the corporation. The corporation exists until the final judgment is entered dissolving it, and they were the only persons who could act for the corporation and manage its concerns. No provision of the statute authorizes the superintendent of banks to act for the corporation. He simply had power to take possession of the bank’s property and business ; not to manage its concerns, or act in any way for the bank. The provisions of the Code for voluntary dissolution of a corporation apply to all corporations created by or under the laws of the state, and no exception from the operation of such provisions is made of a banking corporation, the property and business of which have been taken possession of by the superintendent of banks. These provisions plainly include a banking corporation. And by section 2423 of the Code the court is authorized, in its discretion, at any stage in the proceeding, on motion of the petitioners on notice to the attorney general, or on motion of the attorney general on notice to the corporation, to appoint a temporary receiver of the property of the corporation. We think it clear that under this provision of the Code the court had jurisdiction to entertain the application, grant the order to show cause why the corporation should not be dissolved, and to appoint a temporary receiver of the property of the corporation. There certainly was no reason shown by the attorney general in opposition to the motion why that power should not be exercised. It is conceded that the bank was insolvent, and that the interests of its creditors and stockholders require that it should be wound up. No action by the people had been commenced ; no other application for the appointment of a receiver was pending ; and the only objection of the attorney general seems to be that he wished the receiver to be appointed in an action which he expected to bring, rather than in a proceeding brought by the directors of the bank. Our attention is called to no reason which would prevent this corporation from being wound up as advantageously to its creditors and stockholders in this proceeding as in one "instituted by the attorney general in behalf of the people, nor do the public interests appear to be at all involved. An order has been regularly entered in compli*1288anee with the provisions of law, by which the property of this corporation is vested in officers of the court for the benefit of its creditors and stockholders; and their interests seem to be seriously imperiled by the institution of an unnecessary proceeding by the attorney general, out of which appears to have arisen an unseemly dispute between him and the officers of this bank as to the method of procedure by which this corporation is to be dissolved, and its property applied to the payment of its debts. This should not be encouraged._ It is the duty of the court to protect the interests of the creditors of an insolvent corporation, and not to allow its assets to be wasted through a dispute between receivers appointed in different .actions, or a dispute as to which particular course of procedure .should be adopted, the sole object of which is the protection of creditors. As before stated, no suggestion has been made from which it' appears that the creditors .can be any better protected in an action brought by the' attorney general than in the proceeding now before the court. No suggestion, is made that the public interests in any way require that we should refuse to entertain this application because at some future time the attorney general might commence an action to dissolve the corporation. The court having jurisdiction of the proceeding, the interests of the creditors of this insolvent corporation require that it should promptly act; and its action under such circumstances was in all respects valid and proper in the orderly exercise of such jurisdiction.
We think the order was right, and should be affirmed, with ' $10 costs and disbursements.
YAN BRUNT, P. J., and PATTERSON and O’BRIEN, JJ., concur,
